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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


RICARDO JIMINEZ

             Movant,                           CRIMINAL ACTION NO.
                                               1:09-CR-0454-4-CAP

                                               CIVIL ACTION NO.
       v.                                      1:13-CV-0075-CAP

UNITED STATES OF AMERICA,

             Respondent.


                                   ORDER

       This action is before the court on the magistrate judge’s report and

recommendation (“R&R”) [Doc. No. 226] and the movant’s objections thereto

[Doc. No. 228].

       In 2009, the movant was indicted for serious drug, money laundering,

and firearms crimes [Doc. No. 38]. In 2010, the movant entered into a

negotiated plea agreement [Doc. Nos. 134 and 136] and was sentenced on

October 28, 2010. No appeal was filed,1 and therefore, the convictions and

sentences became final on November 27, 2010.


1 The movant waived his appeal rights in his plea agreement [Doc. No. 136 at

2].
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      Pursuant to 28 U.S.C. § 2255(f)(1), any motion to vacate was required

to be filed no later than November 26, 2011. However, the movant submitted

the instant petition in January 2013 [Doc. No. 217].

      In the R&R, the magistrate judge recommended dismissal because the

petition was not timely filed. Additionally, the magistrate judge considered

the fact that on January 6, 2012, the court granted the government’s Rule 35

motion to reduce the movant’s sentence based upon his cooperation.

However, the magistrate judge cited binding authority that prohibits the use

of the re-sentence date for purposes of § 2255(f)(1). Murphy v. United States,

634 F.3d 1303, 1309 (11th Cir. 2011) (holding that a district court's reduction

of a term of imprisonment under Rule 35(b) has no impact on the finality of a

defendant's judgment of conviction and does not alter the date on which the

judgment of conviction becomes final for the purposes of the statute of

limitations.)

      In his objections, the movant argues that Congress has not determined

whether a Rule 35(b) reduction of sentence is a new judgment of conviction

for purposes of § 2255(f). Nevertheless, this court is bound by the Eleventh

Circuit’s interpretation of the applicable statute. Therefore, the date of

finality of the movant’s conviction was November 27, 2010. As such the




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magistrate judge was correct in determining that the instant petition is

untimely.

      The R&R [Doc. No. 226] is adopted as the order and opinion of this

court. Additionally, as assessed by the magistrate judge, the movant has

made no showing of the denial of a constitutional right and is not entitled to a

Certificate of Appealability.

      SO ORDERED, this 11th day of March, 2014.



                                           /s/ Charles A. Pannell, Jr.
                                           CHARLES A. PANNELL JR.
                                           United States District Judge




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